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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         BIAO WANG,                                        Case No. 21-cv-06028-PCP (SVK)
                                   4
                                                        Plaintiff,
                                   5                                                       ORDER FOLLOWING FEBRUARY 8,
                                                 v.                                        2024 DISCOVERY HEARING
                                   6
                                         ZYMERGEN INC., et al.,                            Re: Dkt. Nos. 260, 261
                                   7
                                                        Defendants.
                                   8
                                              The Court held a hearing on February 8, 2024 regarding the Parties’ discovery dispute
                                   9
                                       concerning the Underwriter Defendants’ (“UWD”) production of text messages. See Dkt. 260 and
                                  10
                                       261. For the reasons discussed at the hearing, the Court ruled from the bench, with a complete
                                  11
                                       statement of the Court’s reasoning as set forth on the record. In some instances, the Court may
                                  12
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                                       have adjusted its rulings upon further consideration as reflected below. Accordingly, the Court
                                  13
                                       ORDERS as follows:
                                  14
                                                  1. By February 15, 2024, UWD must file declarations from the two Goldman Sachs
                                  15
                                                      employees from whom Goldman Sachs “reasonably believes” text messages
                                  16
                                                      “cannot be collected due to the loss of those texts from their personal devices”
                                  17
                                                      (Dkt. 261 at PDF p. 5) that address the following issues:
                                  18
                                                         a. When these employees were first informed that they were custodians in this
                                  19
                                                              litigation.
                                  20
                                                         b. Whether during the relevant time periods these employees used separate
                                  21
                                                              devices for personal and business purposes or used the same device for both
                                  22
                                                              purposes.
                                  23
                                                         c. For the time period following service of the complaint in this action on
                                  24
                                                              Goldman Sachs, the dates upon which these employees obtained new
                                  25
                                                              devices and whether these new devices were for personal or business
                                  26
                                                              purposes or both.
                                  27
                                                         d. The reasons why these employees obtained new devices when they did.
                                  28
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                                   1                     e. Confirmation:

                                   2                             i. That these employees used their former devices (whether personal

                                   3                                devices or business devices) for work-related text messages;1

                                   4                            ii. That to the extent any former device was used for work-related text

                                   5                                messages, the employees engaged in substantive communications

                                   6                                regarding the subject IPO;

                                   7                           iii. As to the direction these employees received from counsel as to the

                                   8                                distinction, if any, between substantive and logistical

                                   9                                communications regarding the subject IPO.

                                  10                     f. These employees’ understanding regarding the storage of text messages

                                  11                        from their previous devices (including but not limited to their settings for

                                  12                        backing up text messages on their previous devices).
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                                  13             2. By February 15, 2024, counsel for UWD with personal knowledge must file

                                  14                 declaration(s) that address the following issues:
                                                         a. The topics covered in the custodial interviews of the two Goldman Sachs
                                  15
                                                            employees identified in paragraph 1 above, including the parameters
                                  16
                                                            communicated to the employees to identify work-related messages and the
                                  17
                                                            distinction, if any, between substantive and logistical communications.
                                  18
                                                         b. The date(s) upon which counsel learned that these two Goldman Sachs
                                  19
                                                            employees had replaced their devices and that the employees had not
                                  20
                                                            retained text messages.
                                  21
                                                         c. The status of the forensic analysis currently underway to determine if
                                  22
                                                            relevant messages from the former devices can be retrieved and a date
                                  23
                                                            certain for completion of that analysis not more than 14 days from the date
                                  24
                                                            of this Order.
                                  25
                                                         d. Confirmation that custodial interviews have been conducted of the five
                                  26
                                  27

                                  28
                                       1
                                        For purposes of this hearing and order, “text messages” encompasses any messaging application
                                       on the employee’s device.
                                                                                        2
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                                   1                          former employees of UWD identified in Dkt. 261 at PDF p. 5 as directed by

                                   2                          the Court at the hearing; the date of each custodial interview; and the topics

                                   3                          covered in each custodial interview, including the parameters to identify

                                   4                          responsive documents generally as well as the parameters to identify work-

                                   5                          related text messages and the distinction, if any, between substantive and

                                   6                          logistical communications.

                                   7                    e. Whether any of the five former employees have responsive documents in

                                   8                          their possession, custody, or control and, if so, the status of production of

                                   9                          such documents and a date certain for the expedited completion of that

                                  10                          production.

                                  11                    f. The date of each of the five former employees’ separation from

                                  12                          employment with the UWD.
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                                  13                    g. For all custodial interviews (not limited to the custodians discussed above),

                                  14                          the directions and parameters given by counsel as to text messages that
                                                              must be collected, including but not limited to any directions regarding
                                  15
                                                              whether substantive versus logistical texts needed to be collected and
                                  16
                                                              whether information needed to be collected from personal (as opposed to
                                  17
                                                              employer-issued) devices.
                                  18
                                                 3. The declarations required under this order may be filed under seal if necessary,
                                  19
                                                     accompanied by an administrative motion for leave to file under seal.
                                  20
                                                 4. Copies of the declarations must also be emailed to svkcrd@cand.uscourts.gov.
                                  21
                                                 5. The UWD’s submission of declarations in compliance with this order shall not
                                  22
                                                     constitute a waiver of attorney-client privilege or attorney work product.
                                  23
                                                 6. Plaintiffs shall not file any response to the UWD declarations unless ordered by the
                                  24
                                                     Court.
                                  25
                                              SO ORDERED.
                                  26   Dated: February 8, 2024
                                  27
                                                                                                     SUSAN VAN KEULEN
                                  28                                                                 United States Magistrate Judge
                                                                                          3
